Case 1:17-cv-02989-AT Document 1277-2 Filed 01/25/22 Page 1 of 18

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

 

ATLANTA DIVISION
DONNA CURLING, ET AL.,
Plaintiffs,
Vy Civil Action No. 1:17-CV-2989-AT

BRAD RAFFENSPERGER, ET AL.,
Defendants.

 

 

PLAINTIFFS’ JOINT NOTICE OF DEPOSITION OF
GEORGIA’S SECRETARY OF STATE

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that Plaintiffs will take the deposition by oral
examination of Georgia’s Secretary of State as permitted by Rule 30(b)(6) of the
Federal Rules of Civil Procedure and applicable court orders in the above-captioned
matter and as set forth in Schedule A. This deposition will take place on Tuesday,
June 29, 2021, or on a mutually agreeable date, beginning at 9:00 a.m. EST, and
continue from day to day until completed. The deposition will take place either at
the offices of Krevolin & Horst, LLC, located at 1201 West Peachtree Street, NW,
Suite 3250, Atlanta, GA 30309, or in a virtual format if necessary. The deposition
shall be taken by oral examination with written and/or sound and visual record made

thereof before a court reporter or other officer authorized by law to administer oaths.

1
Case 1:17-cv-02989-AT Document 1277-2 Filed 01/25/22 Page 2 of 18

Respectfully submitted this 17th day of June, 2020.

/s/ David D. Cross
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Case 1:17-cv-02989-AT Document 1277-2 Filed 01/25/22 Page 3 of 18

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Case 1:17-cv-02989-AT Document 1277-2 Filed 01/25/22 Page 4 of 18

SCHEDULE A
DEFINITIONS

The following words, terms, or phrases shall, for purposes of the Topics
below, have the meanings specified, unless otherwise expressly stated in each
request:

“All” and “each” shail be construed as all and each.

“And” as well as “or” are to be construed either disjunctively or
conjunctively as necessary to bring within the scope of the Topics all information
that might otherwise be construed to be outside their scope.

“Any” means each and every.

“Communication” shall mean any transmission of information by any
means, including without limitation: (a) any written letter, memorandum, or other
Document of any kind by mail, courier, other delivery services, telecopy,
facsimile, telegraph, electronic mail, voicemail, or any other means; (b) any
telephone call, whether or not such call was by chance or prearranged, formal or
informal; and (c) any conversation or meeting between two or more Persons,
whether or not such contact was by chance or prearranged, formal or informal.

“Concerning,” “related to” or “relating to,” and “regarding” shall mean

analyzing, alluding to, concerning, considering, commenting on, consulting,
Case 1:17-cv-02989-AT Document 1277-2 Filed 01/25/22 Page 5 of 18

comprising, containing, contradicting, describing, dealing with, discussing,
establishing, evidencing, identifying, involving, noting, recording, reporting on,
related to, relating to, reflecting, referring to, regarding, stating, showing, studying,
mentioning, memorializing, or pertaining to, in whole or in part.

“Document” and “documents” shall be synonymous in meaning and equal in
scope to the usage of that term in Rule 34(a), and includes “tangible things” (as
that term is used in Rule 34(a)(1)(b)), as well as anything that falls within the
definition or meaning of “electronically stored information” (as that term is used in
Rule 34(a)(1)(A)) or of “writings” or “recordings” in Federal Rule of Evidence
1001. A draft or non-identical copy of a document shall be considered a separate
document within the meaning of the term “document,” as used in the Topics.

“Dominion” means Dominion Voting Systems, Inc., its predecessors,
divisions, subsidiaries, affiliates, partnership and joint ventures, and all directors,
officers, employees, contractors, representatives, and agents thereof, and any other
person acting on its behalf or under its direction or control with respect to subject
matter of these Topics.

“Dominion Worker” means employees, contractors, representatives, and
agents of Dominion, and any other person acting on its behalf or under its direction

or control with respect to subject matter of these Topics.
Case 1:17-cv-02989-AT Document 1277-2 Filed 01/25/22 Page 6 of 18

“Electronic Pollbook” refers to the Election Systems & Software
ExpressPoll, PollPad system supplied by KnowlInk, or any other similar electronic
pollbook system.

“Election System” means every aspect of any system, device, machine,
server, computer, equipment, files, removable media (such as memory cards),
ballot-marking devices (BMDs) (including ImageCastX Ballot-Marking Devices),
BMD-adjacent equipment (including ImageCast Precinct Polling Place Scanner
and associated printers or touchscreens), the KnowInk PollPad Plus system and
associated components, software (such as any version of the Global Election
Management System (GEMS), the BallotStation software or the software
associated with the “Dominion Voting Democracy Suite” (D-Suite) and the
Knowlnk PollPad Plus system used in any election in the state of Georgia, script,
hardware, firmware, software patch or update, paper, documentation, or facility (to
include any backup of the foregoing) used in or as part of the operation,
administration, implementation, execution, completion, preparation, facilitation,
recording, processes, or procedures of elections in the State of Georgia, including
voter registration information, election results data, DREs, BMDs, optical
scanners, modems, network equipment, other peripheral devices, any server that

hosts or has hosted the GEMS software, Dominion software, or any other election
Case 1:17-cv-02989-AT Document 1277-2 Filed 01/25/22 Page 7 of 18

management system, or the Election Night Reporting system, voter registration
systems or databases (e.g., “eNet”), online voter registration servers, electronic poll
books and related components, administrative credentials, the Center for Election
Systems (CES) (including when it was located at Kennesaw State University), or
information related to employees, agents, representatives, volunteers, or others
acting on behalf of You, the State of Georgia, or any county or municipality with
respect to elections in the State of Georgia.

“Including” means including without limitation.

“Person” means and includes a natural person (i.e., an individual), a group of
natural persons acting as individuals, a group of individuals acting in a collegial or
concerted capacity (e.g., as a committee, a board of directors or advisors, etc.), an
association, firm, corporation, joint venture, partnership, company, governmental
unit or agency, and any other business, enterprise, or entity, unless otherwise
limited or specified in the Topics.

“You” or “Your” means and includes Georgia’s Secretary of State, any of its
predecessors, the divisions, departments, partnerships, and joint ventures of or
subject to the control of the Georgia Secretary of State, all directors, officers,
employees, contractors, consultants, representative, and agents thereof, and any

other person acting on its behalf or under its direction or control with respect to
Case 1:17-cv-02989-AT Document 1277-2 Filed 01/25/22 Page 8 of 18

subject matter of these Topics, including to the extent applicable the Georgia
Technology Authority.
INSTRUCTIONS
Pursuant to Federal Rule of Civil Procedure 30(b)(6), the Office of the
Secretary of State shall designate one or more of its officers, directors, managing
agents, employees, or other persons to testify on its behalf about the matters set
forth in the Topics set forth below. The Person(s) so designated shall be required
to testify about each of those matters known or reasonably available to the Office
of the Secretary of State. At least five days in advance of the date of deposition,
the Office of the Secretary of State is directed to provide to counsel for Plaintiffs a
written designation of the name(s) and position(s) of the Person(s) designated to
testify on each of the following topics.
TOPICS
1. Implementation and operation of Georgia’s current Election System,
including:
a. Any efforts made to isolate, separate, or sequester Georgia’s current
Election System from the prior GEMS/DRE Election System, and the
success or failure of any such efforts, including any connections

(direct or indirect), interactions, or other actual or potential exchanges
Case 1:17-cv-02989-AT Document 1277-2 Filed 01/25/22 Page 9 of 18

of software or data between the two Election Systems (such as the use
of removable media with both systems);

b. Any efforts made to “air-gap” any components of Georgia’s current
Election System, and the success or failure of any such efforts;

c. Any connections (direct or indirect), interactions, or other actual or
potential exchanges of software or data between Georgia’s current
Election System and any other computer system or device via the
Internet, telephone lines, cable lines, satellites, or other third-party
system, network, equipment, or devices;

d. Any use of removable media with Georgia’s current Election System,
including any Communications with counties and/or Dominion
regarding the same;

e. Any execution or operational issues or challenges with Georgia’s
current Election System involving any 2020 or 2021 elections, any
solutions or other measures implemented, planned, or contemplated to
resolve, remediate, mitigate, or otherwise address any such issues or
challenges, and the success or failure of any such efforts;

f. Practices and policies for creating ballot definition files and Election

Project Packages for Georgia 2020 or 2021 elections, including when,
Case 1:17-cv-02989-AT Document 1277-2 Filed 01/25/22 Page 10 of 18

where, how, and by whom such files were created and transmitted for
use in any such election;

g. Procedures and instructions for county review and approval of the
Election Project Packages;

h. Practices and policies for transferring scanned ballot data and
tabulation data or information for Georgia 2020 or 2021 elections to
You, including when, how, and by whom such data or information
was collected or transmitted.

2. Any testing, examination, reexamination, evaluation, study, analysis,
investigation, or assessment of the security, integrity, reliability, accuracy, or
transparency of Georgia’s current Election System or its prior GEMS/DRE
Election System, including:

a. Acceptance testing of any component of the current Election System,
the results thereof, and any steps or measures contemplated or taken in
response to any such testing;

b. Logic and Accuracy Testing of the current voting equipment, the
results thereof, and any steps or measures contemplated or taken in

response to any such testing;
Case 1:17-cv-02989-AT Document 1277-2 Filed 01/25/22 Page 11 of 18

c. Any reports, findings, or conclusions regarding any potential or actual
security concerns, breaches, or vulnerabilities involving any aspect of
Georgia’s current or prior Election System;

d. Documentation—including research, reports, assessments, findings,
studies, publications, memoranda, and communications—regarding
the security, integrity, reliability, accuracy, or transparency of any
component of Georgia’s current Election System.

3. Complaints regarding the security, integrity, reliability, accuracy, or
transparency of Georgia’s current Election System or its prior GEMS/DRE
Election System, including when and by whom any such complaints were made
and any responses thereto.

4. Dominion’s role and responsibilities in any 2020 and 2021 Georgia
elections, including:

a. Any oversight Dominion exercises over technicians or other election
workers in any such election;

b. Any access any Dominion Worker had to any components of the
Election System used in any such election after the state or any county

took possession of the component(s), whether (and if so, how, when,
Case 1:17-cv-02989-AT Document 1277-2 Filed 01/25/22 Page 12 of 18

and by whom) that access was exercised by any Dominion Worker,
and the reasons for any such access;

c. Any changes any Dominion Worker made to any components of the
Election System (including servers and any software, firmware, or
data on the equipment) used in any such election after the state or any
county took possession of the component(s), including how, when,
why, and by whom any such changes were made.

5. The roles and responsibilities of any vendor other than Dominion in
any 2020 and 2021 Georgia elections, including

a. Any oversight such a vendor or its employees exercise over
technicians or other election workers in any such election;

b. Any access such a vendor or its employees had to any components of
the Election System used in any such election after the state or any
county took possession of the component(s), whether (and if so, how,
when, and by whom) that access was exercised by any vendor, and the
reasons for any such access;

c. Any changes such a vendor or its employees made to any components
of the Election System (including any software, firmware, or data on

the equipment) used in any such election after the state or any county
Case 1:17-cv-02989-AT Document 1277-2 Filed 01/25/22 Page 13 of 18

took possession of the component(s), including how, when, why, and
by whom any such changes were made.

6. Policies and practices for hiring, training, and overseeing technicians
and other election workers (including volunteers) for 2020 and 2021 Georgia
elections, including regarding any background checks, confidentiality
requirements, or other security measures implemented or contemplated for any
such workers.

7. Policies and practices for scanning and tabulating paper ballots.
Specifically:

a. Functionality and operation (including equipment settings) of
Georgia’s current Election System (including software and firmware)
for scanning paper ballots, whether generated by a ballot-marking
device or marked by hand or some other means;

b. Functionality and operation of Georgia’s current Election System
(including software and firmware) for adjudicating marks on paper
ballots for tabulation;

c. Any policies and practices contemplated or adopted to try to ensure

accurate tabulation of voter selections reflected on paper ballots;
Case 1:17-cv-02989-AT Document 1277-2 Filed 01/25/22 Page 14 of 18

d. Training and oversight of technicians and other election workers
and/or counties on such policies, practices, and equipment.

8. Issues or challenges affecting the security, usability, or reliability of
Electronic Pollbooks in Georgia 2020 and 2021 elections, including:

a. Identification of such issues requiring hardware or software changes
or settings changes to Electronic Pollbooks;

b. Any report-writing capabilities of the system.

9. Any vulnerabilities involving the security, integrity, reliability, or
accuracy of Georgia’s current Election System, including:

a. Potential or actual remote access to any component of Georgia’s
current Election System;

b. Policies and practices regarding securing components of Georgia’s
current Election System, including but not limited to removable media
used with the system (and any other equipment or devices used with
any such media) and equipment stored overnight in early voting
polling places;

c. Wireless connections involving any components of Georgia’s current

Election System, including Electronic Pollbooks.
Case 1:17-cv-02989-AT Document 1277-2 Filed 01/25/22 Page 15 of 18

10. Voting data from Georgia 2020 or 2021 elections or copies or images
of voting equipment, including servers used in conjunction with Georgia’s voting
system, used in Georgia 2020 or 2021 elections taken or received by third parties,
the location(s) of any such information or materials, and any response by You, the
State Election Board, or any Georgia county to any such incident.

11. Any changes to any software or firmware used on any component of
Georgia’s current Election System since September 1, 2020, including when, how,
why, and by whom any such changes were made and approved.

12. Communications with the U.S. Election Assistance Commission
(“EAC”) regarding any software changes involving Georgia’s current Election
System or otherwise relating to any actual or contemplated request for EAC
approval for any aspect of Georgia’s current Election System.

13. The voter verifiability and auditability of ballots generated by ballot-
marking devices used in Georgia 2020 or 2021 elections, including:

a. Any policies and practices contemplated, adopted, or implemented to
try to ensure voter verification of the contents of paper ballots
generated by Georgia’s current Election System;

b. Any testing, examination, evaluation, study, analysis, or assessment of

the extent to which voters reliably verify the accuracy of their
Case 1:17-cv-02989-AT Document 1277-2 Filed 01/25/22 Page 16 of 18

respective ballots generated by ballot-marking devices used in
Georgia’s current Election System;

c. Any policies and practices contemplated or adopted for pre-election or
post-election auditing of election results produced by Georgia’s
current Election System, including but not limited to risk-limiting
audits of that system;

d. Any audit of any Georgia 2020 or 2021 election, including the steps
taken as part of that audit and the results thereof and any review or
investigation of discrepancies found in the audit.

14. Any actual or contemplated plans to replace Georgia’s current voting
software or equipment with different voting software or equipment, such as BMDs
that do not generate bar codes for tabulation.

15. Potential implementation and operation of an Election System using
hand-marked paper ballots as the primary means of voting in person in Georgia
elections, including:

a. Any examination, evaluation, study, analysis, or assessment of the

reliability, feasibility, or costs thereof;
Case 1:17-cv-02989-AT Document 1277-2 Filed 01/25/22 Page 17 of 18

b. Any proposal or request for any such Election System for use in
Georgia, including when and by whom any such proposal or request
was made and any response thereto.
16. Admissibility of any Documents You produce in discovery in this
matter.
17. Your process for identifying, collecting, searching, reviewing, and
producing responsive Documents and other relevant materials in this matter.
18. Your process for preserving information within Your possession,
custody, or control potentially relevant for this matter, including any

communications with counties or other entities or individuals regarding the same.
Case 1:17-cv-02989-AT Document 1277-2 Filed 01/25/22 Page 18 of 18

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

 

ATLANTA DIVISION
DONNA CURLING, ET AL.,
Plaintiffs,
y Civil Action No. 1:17-CV-2989-AT

BRAD RAFFENSPERGER, ET AL.,
Defendants.

 

 

CERTIFICATE OF SERVICE
I certify that on June 17, 2021, a copy of the foregoing PLAINTIFFS’ JOINT

NOTICE OF DEPOSITION OF GEORGIA’S SECRETARY OF STATE was
served by email on counsel of record for all parties by electronic delivery of a PDF
version. The foregoing also was served by e-mail and the ECF/CMF system on all

counsel of record.

/s/ David D. Cross
David D. Cross
